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 6
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 8                               UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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      DR. DANIELLE BABB,                        Case No.: 8:22-cv-2050-JWH-KES
12                                              [Complaint filed: August 31, 2022]
                    Plaintiff,
13
                                                NOTICE OF SETTLEMENT AND
14    vs.                                       REQUEST TO TAKE PENDING
15                                              MOTIONS OFF CALENDAR
      EC-COUNCIL UNIVERSITY, an online
16    University incorporated in the State of
17    Wyoming; JAY BAVISI, an individual;
      LATA BAVISI, an individual; VENUS
18    FISHER, an individual; APRIL RAY, an
19    individual; ALEXIS GONZALES, an
      individual; ZANNA JONES, an
20
      individual; and DOES 1-50,
21
                    Defendants
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23           TO THE HONORABLE COURT, ALL PARTIES AND THEIR
24    ATTORNEYS OF RECORD:
25           PLEASE TAKE NOTICE that Plaintiff DR. DANIELLE BABB (“Plaintiff”)
26    and Defendant EC-COUNCIL UNIVERSITY, an online University incorporated in
27    the State of Wyoming (“Defendant”) (collectively the “Parties”) have reached a
28    settlement of this lawsuit. The Parties have executed a settlement agreement and


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            ______________________________________________________________________
                                   NOTICE OF SETTLEMENT
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 1    anticipate that a Joint Stipulation for Dismissal of the Action will be filed with the
 2    Court within forty (40) days from the date of this Notice.
 3          Given the settlement between the Parties, it is respectfully requested that all
 4    pending hearings and deadlines be taken off calendar, including the Motion to Stay
 5    and Transfer Case currently set for hearing on June 23, 2023.
 6    Dated: June 9, 2023                     K&L LAW GROUP, P.C.
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 9                                            ___________________________________
                                              Marc Lazo
10                                            Attorneys for Plaintiff ALEX LAZO
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                                 NOTICE OF SETTLEMENT
